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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


In re:                                                                   Chapter 11

AMYRIS, INC., et al.,                                                    Case No. 23-11131 (TMH)

                                     Debtors.1                           (Jointly Administered)


    CERTIFICATION OF COUNSEL REGARDING ASSUMPTION OF EXECUTORY
    CONTRACTS WITH JUDY CASEY, INC. AND SETTLEMENT OF CLAIMS WITH
                          HEATHER MOORE

          The undersigned hereby certifies as follows:

          1.          On August 9 and August 21, 2023 (as applicable, the “Petition Date”), the above-

captioned debtors and debtors in possession (the “Debtors”) commenced these jointly administered

Chapter 11 cases in the United States Bankruptcy Court for the District of Delaware (the

“Bankruptcy Court”) by filing a voluntary petition for relief under chapter 11 of Title 11 of the

United States Code (the “Bankruptcy Code”).

          2.          Debtor Amyris Clean Beauty, Inc. (“ACB”) and Judy Casey, Inc. (“JCI”) are party

to a Master Services Agreement (the “MSA”), dated as of June 7, 2023 and an associated Statement

of Work #1 (the “SOW” and, together with the MSA, the “Agreements”), dated as of June 15,

2023. Pursuant to the Agreements, JCI referred Heather Moore (“Mrs. Moore” and, together with

ACB and JCI, the “Parties”) to provide photography services to ACB, as set forth more fully in

the Agreements.




1         A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the
          Debtors’ claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.
          principal place of business and the Debtors’ service address in these Chapter 11 Cases is 5885 Hollis Street,
          Suite 100, Emeryville, CA 94608.


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          3.          Amyris, JCI, and Mrs. Moore have negotiated and entered into the Stipulation

Assuming the Executory Contracts with Judy Casey, Inc. and Settlement of Claims with

Heather Moore (the “Stipulation”).

          4.          Counsel for Amyris has shared a copy of the Stipulation with counsel for the DIP

Secured Parties, the Official Committee of Unsecured Creditors, and the Office of the United

States Trustee. Each has confirmed that they do not object to the entry of an order approving the

Stipulation.

          5.          Attached as Exhibit 1 hereto is a proposed form of Order Approving the

Stipulation (the “Order”). The Stipulation is attached as Exhibit A to the Order.

          6.          Based on the foregoing, the Parties respectfully request entry of the Order at the

Court’s earliest convenience.


 Dated: October 31, 2023                              PACHULSKI STANG ZIEHL & JONES LLP

                                                      /s/ Steven W. Golden
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                                                      Counsel to the Debtors and Debtors in Possession




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